             Case 1:21-cv-00532-SAG Document 95-9 Filed 09/06/21 Page 1 of 4




                                                              Exhibit N




CREDIT REPORT


BRYCE CARRASCO

Report Confirmation

1522804617
                         Case 1:21-cv-00532-SAG Document 95-9 Filed 09/06/21 Page 2 of 4



1. Summary
Review this summary for a quick view of key information contained in your Equifax Credit Report.

Report Date                                             Jan 22, 2021

Credit File Status                                      No fraud indicator on file

Alert Contacts                                          0 Records Found

Average Account Age                                     1 Year, 10 Months

Length of Credit History                                4 Years

Accounts with Negative Information                      1

Oldest Account                                          AMERICAN EXPRESS (Opened Jan 26, 2017)

Most Recent Account                                     M & T BANK (Opened Jul 17, 2020)



Credit Accounts

Your credit report includes information about activity on your credit accounts that may affect your credit score and rating.

Account Type         Open    With Balance     Total Balance       Available          Credit Limit     Debt-to-Credit     Payment

Revolving            2       1                $312                $13,278            $13,590          2.0%               $0

Mortgage

Installment

Other

Total                2       1                $312                $13,278            $13,590          2.0%               $0



Other Items

Your credit report includes your Personal Information and, if applicable, Consumer Statements, and could include other items that may
affect your credit score and rating.

Consumer Statements                                                                                                      1 Statements Found

Personal Information                                                                                                             4 Items Found

Inquiries                                                                                                                  22 Inquiries Found

Most Recent Inquiry                                     EQUIFAX CONSUMER SERVICESJan 22, 2021

Public Records                                                                                                                 0 Records Found

Collections                                                                                                               0 Collections Found




                                                      BRYCE CARRASCO | Jan 22, 2021                                               Page 3 of 26
                      Case 1:21-cv-00532-SAG Document 95-9 Filed 09/06/21 Page 3 of 4



2. Revolving Accounts
Revolving accounts are those that generally include a credit limit and require a minimum monthly payment, such as credit cards.


2.1 M & T BANK (CLOSED)

Summary

Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
calculated by dividing an account's reported balance by its credit limit.

Account Number                                                             Reported Balance                                               $2,117

Account Status                               PAYS_AS_AGREED                Debt-to-Credit Ratio                                             60%

Available Credit                                            $3,500




The tables below show up to 2 years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
credit limit, amount past due, activity designator, and comments.


Payment History

View up to 7 years of monthly payment history on this account. The numbers indicated in each month represent the number of days a
payment was past due; the letters indicate other account events, such as bankruptcy or collections.

               Year           Jan      Feb        Mar       Apr      May        Jun     Jul       Aug       Sep     Oct      Nov          Dec

               2020                                                                                                 30        60          90

    Paid on Time            30 30 Days Past Due           60 60 Days Past Due         90 90 Days Past Due         120 120 Days Past Due

150 150 Days Past Due       180 180 Days Past Due         V Voluntary Surrender       F Foreclosure                C Collection Account

CO Charge-Off                B Included in Bankruptcy     R Repossession              TN Too New to Rate              No Data Available



Account Details

View detailed information about this account. Contact the creditor or lender if you have any questions about it.

High Credit                                                 $2,418         Owner                                                   INDIVIDUAL

Credit Limit                                                $3,500         Account Type                                            REVOLVING

Terms Frequency                                         MONTHLY            Term Duration                                                        0

Balance                                                     $2,117         Date Opened                                             Jul 17, 2020

Amount Past Due                                                            Date Reported                                           Jan 19, 2021




                                                        BRYCE CARRASCO | Jan 22, 2021                                              Page 4 of 26
                        Case 1:21-cv-00532-SAG Document 95-9 Filed 09/06/21 Page 4 of 4



Actual Payment Amount                              $231       Date of Last Payment                   Dec 01, 2020

Date of Last Activity                                         Scheduled Payment Amount                       $60

Months Reviewed                                       5       Delinquency First Reported

Activity Designator                            CLOSED         Creditor Classification                 UNKNOWN

Deferred Payment Start Date                                   Charge Off Amount

Balloon Payment Date                                          Balloon Payment Amount

Loan Type                                    Credit Card      Date Closed                            Nov 01, 2020

Date of First Delinquency

Comments                                                                Contact

Account closed by credit grantor                                        M & T BANK
                                                                        1 FOUNTAIN PLAZA 4TH FLOOR
                                                                        BUFFALO, NY 14203




                                             BRYCE CARRASCO | Jan 22, 2021                            Page 5 of 26
